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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


Arkansas Times LP                                                                           Plaintiff

v.                                      Case No.    t/:fk_ V 1(4- /3,S',M

Mark Waldrip, John Goodson,
Morril Harriman, Kelly Eichler,
David Pryor, Stephen Broughton,
C.C. Gibson, Sheffield Nelson,
Tommy Boyer, and Steve Cox, in their
official capacities as Trustees of
the University of Arkansas Board of
Trustees.

                              This case assigned to District~       md1t,,,
                              and to Magistrate Judge        ~
              COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

                                             Introduction

        1.    This is an action to protect the constitutional rights to engage in political expression

and association. Plaintiff Arkansas Times LP sues, pursuant to 28 U.S.C. §§ 2201(a) and 2202,

to declare that portion of Act 710 of2017 codified at Ark. Code Ann. §-25-1-503 ("the Act")

unconstitutional and, pursuant to 42 U.S.C. § 1983, to enjoin enforcement of the Act. The Act

requires those who desire to contract with governmental entities in this state to certify that they

currently are not boycotting Israel and will not boycott Israel during the duration of their

contract. However, the Act permits a contractor to boycott Israel if the contractor agrees to

provide the goods or services for at least a twenty percent (20%) reduction in the contract

amount to be paid by the state. The Act's certification requirement violates the First and

Fourteenth Amendments of the United States Constitution by requiring contractors, including




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Plaintiff in this action, to either refrain from boycotting Israel or to agree to a substantial

reduction in the contractual amount paid.

                                      Jurisdiction and Venue

        2. The Court has jurisdiction over this§ 1983 action under 42 U.S.C. §§ 1983 and 1988

and 28 U.S.C. §§ 1331 and 1343. This Court has the authority to grant declaratory relief under

28 U.S.C. §§ 2201 and 2202. Venue is proper under 28 U.S.C. § 1391 because at least one of the

Defendants resides in this judicial district and the events giving rise to this action occurred in this

judicial district.

                                             The Parties

        3.    Plaintiff Arkansas Times LP is an Arkansas limited partnership in good standing,

with its principal place of business in Pulaski County, Arkansas. It has contracted many times

over many years with Pulaski Technical College to include advertising for Pulaski Technical

College ("PTC") in the Arkansas Times, a weekly newspaper of general circulation in this state,

as well as in other special interest publications published by Arkansas Times LP. Since Pulaski

Technical College became part of the University of Arkansas system on February 1, 2017, and

was renamed the University of Arkansas Pulaski Technical College ("UAPTC"), these

advertising contracts have been with the University of Arkansas Board of Trustees ("UABT").

        4. The University of Arkansas Board of Trustees is the governing body of all

components of the University of Arkansas System and has the authority to enter into, or delegate

to or direct others to enter into, contracts for goods or services on behalf of the University of

Arkansas and all colleges in its system.

        5. Defendant Mark Waldrip is chair of the University of Arkansas Board of Trustees. He

is sued in his official capacity. He is a resident of Lee County, Arkansas.



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       6. John Goodson is a vice chair of the University of Arkansas Board of Trustees. He is

sued in his official capacity. He is a resident of Miller County, Arkansas.

       7.    Morril Harriman is secretary of the University of Arkansas Board of Trustees. He is

sued in his official capacity. He is a resident of Pulaski County, Arkansas.

       8.    Kelly Eichler is assistant secretary of the University of Arkansas Board of Trustees.

He is sued in his official capacity. She is a resident of Pulaski County, Arkansas.

       9. David Pryor is a member of the University of Arkansas Board of Trustees. He is sued

in his official capacity. He is a resident of Pulaski County, Arkansas.

       10. Stephen Broughton is a member of the University of Arkansas Board of Trustees. He

is sued in his official capacity. He is a resident of Jefferson County, Arkansas.

       11. C. C. Gibson is a member of the University of Arkansas Board of Trustees. He is sued

in his official capacity. He is a resident of Drew County, Arkansas.

       12. Sheffield Nelson is a member of the University of Arkansas Board of Trustees. He is

sued in his official capacity. He is a resident of Pulaski County, Arkansas.

       13. Tommy Boyer is a member of the University of Arkansas Board of Trustees. He is

sued in his official capacity. He is a resident of Washington County, Arkansas.

       14. Steve Cox is a member of the University of Arkansas Board of Trustees. He is sued in

his official capacity. He is a resident of Craighead County, Arkansas.

                                              The Act

       15. In 2017, the Arkansas Legislature passed Act 710, codified as Ark.Code Ann. §§ 25-

1-501 to 25-1-504. The Act became effective August 3, 2017.

       16. The anti-boycott section of the Act, Ark. Code Ann.§ 25-1-503, provides:

        Prohibition on contracting with entities that boycott Israel.



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         (a) Except as provided under subsection (b) of this section, a public entity
         shall not:

                 ( 1) Enter into a contract with a company to acquire or dispose of services,
         supplies, information technology, or construction unless the contract includes
         a written certification that the person or company is not currently engaged in,
         and agrees for the duration of the contract not to engage in, a boycott of Israel; or

                (2) Engage in boycotts of Israel.

         (b) This section does not apply to:

                 ( 1) A company that fails to meet the requirements under subdivision (a)(l)
         of this section but offers to provide the goods or services for at least twenty
         percent (20%) less than the lowest certifying business; or

               (2) Contracts with a total potential value ofless than one thousand dollars
         ($1,000).

Ark. Code Ann.§ 25-1-503.

        17. The definitions part of the Act provides, in relevant part:

        As used in this subchapter:

          (1) (A) (i) "Boycott Israel" and "boycott oflsrael" means engaging in refusals to deal,
              terminating business activities, or other actions that are intended to limit
              commercial relations with Israel, or persons or entities doing business in Israel or
              in Israeli-controlled territories, in a discriminatory manner.

             (ii) "Boycott" does not include those boycotts to which 50 U.S.C. § 4607(c) applies.

Ark. Code Ann. §25-1-502.

        18. The Act seeks to suppress participation in political boycott campaigns, particularly

Boycott, Divestment, and Sanctions ("BDS") campaigns, which are aimed at Israel and

territories where Israel exerts control. These campaigns typically are a protest against the Israeli

government's treatment of Palestinians and its occupation of Palestinian territories and are a

means of exerting economic pressure on the Israeli government to change its policies vis a vis

the Palestinians.



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         18.   The legislative findings to the Act state, inter alia, "Boycotts and related tactics

have become a tool of economic warfare that threaten [sic] the sovereignty and security of key

allies and trade partners of the United States. The State of Israel is the most prominent target of

such boycott activity[.]"

         19.     In the Arkansas House of Representatives State Agencies and Governmental

Affairs Committee meeting on March 20, 2017, Representative Jim Dotson described Senate Bill

513, which was enacted as Act 710, as preventing Arkansas public entities from contracting with

companies "which are anti-Israel or have business dealings with enemies of the State of Israel."

                                              The Facts

         19. Plaintiff operates the Arkansas Times, a weekly newspaper of general circulation in

this state, and also other special interest publications in Arkansas. The publisher and CEO of the

Arkansas Times is Alan Leveritt. He is also the CEO and a principal of Arkansas Times LP.

         20. For many years, Plaintiff has regularly contracted with PTC and, as of February 1,

2017, with UABT to run advertisements for UAPTC in the Arkansas Times as well as in other

special interest publications in return for payment for this service. In 2016, Plaintiff executed 22

separate contracts with UABT PTC in amounts over $1,000 each to place ads in its various

publications for UAPTC; in 2017, Plaintiff executed 36 such contracts with UABT; in 2018,

Plaintiff executed 25 such contracts with UABT prior to the requirement of the boycott pledge in

issue.

         21. In October, 2018, Plaintiff and UAPTC were preparing to enter into new contracts

for additional advertising in the Arkansas Times. At that time Mr. Leveritt was informed that the

UAPTC Director of Purchasing and Inventory, based on the Act, was requiring, as a condition of

the contract and on behalf of the Board of Trustees of the University of Arkansas, that Mr.



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Leveritt, on behalf of the Arkansas Times LP, in addition to the usual advertising contract

documents, sign a certification stating that Plaintiff is not currently engaged in and agrees for the

duration of the contract not to engage in a boycott oflsrael. UAPTC informed Mr. Leveritt that

absent this certification, UAPTC would refuse to contract with Plaintiff for any additional

advertising.

        22. Plaintiff does not currently engage in a boycott of Israel or Israeli-controlled

territories. Plaintiff has published articles that are critical of the Act and similar anti-boycott laws

in other states.

        23. It is Mr. Leveritt's position, as CEO of and principal in Arkansas Times LP, that the

politically-motivated boycott of Israel, or persons or entities doing business in Israel or Israeli-

controlled territories, is speech and expressive activity related to a matter of public concern and

is therefore protected by the First Amendment, and that it is unacceptable for Plaintiff to enter

into an advertising contract with the University of Arkansas that is conditioned on the

unconstitutional suppression of protected speech under the First Amendment. Mr. Leveritt

therefore has refused to sign any such certification and accordingly UAPTC has refused to enter

into further advertisement contracts with Plaintiff.

        24. But for UABT's certification requirement, based on the Act, Plaintiff is ready,

willing, and able to enter into new advertising contracts for UAPTC with UABT.

        25. Because of the certification requirement, Plaintiff and UABT have no present contract

to advertise UAPTC and no future prospect to do so.

        26. Any participation by Plaintiff in a BDS campaign or refusal by Plaintiff to sign the

certification have no bearing on Plaintiffs ability to provide advertising services to UAPTC.




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       27. But for Plaintiff's refusal to sign the anti-boycott pledge, as of November 28, 2018,

UAPTC would have entered into at least two new contracts for advertising in the Arkansas

Times, each of which would have been for an amount in excess of $1,000, and, based upon its

past course of dealing with Plaintiff, as stated in ,r20 of this Complaint, UAPTC would enter into

additional such new contracts in the future.

       28. Plaintiff is not willing to accept a 20% discount on payment by UAPTC for its

advertising services.

       29. Because Plaintiff is not able to contract with UABT absent the required anti-boycott

certification, Plaintiff has sustained substantial monetary damages, which are not recoverable

against UABT in a court oflaw and which will continue into the future if the certification

requirement is not invalidated.

       30. By virtue of the denial of its First Amendment rights on account of the

unconstitutional requirement of the Act, as well as by its loss of revenue on that same account

that cannot be recovered as against UABT, the Plaintiff has suffered and will continue to suffer

irreparable harm.

                                               COUNT 1

                        (Violation of the First and Fourteenth Amendments)

       31. Plaintiffs restate and incorporate by reference the allegations of the preceding

paragraphs of this complaint.

       32. The First Amendment is made applicable to the states through the Fourteenth

Amendment.




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        33. Whether or not someone chooses to boycott Israel, or persons or entities doing

business in Israel or Israeli-controlled territories, is politically-motivated speech and expressive

activity related to a matter of public concern and therefore protected by the First Amendment.

        34. Participation in a boycott, together with others who use BOS tactics, is protected

association under the First Amendment.

        35. Speech related to participation in this boycott is speech on a matter of public

concern. It is therefore protected by the First Amendment.

        36. The Act's certification requirement and UABT's implementation of it violate the

First Amendment, both facially and as-applied, because the requirement unduly restricts the

ability of contractors who wish to contract with government entities in this state to engage in

core political expression and expressive activity, including participation in political boycotts.

        37. The certification requirement violates the First Amendment, both facially and as-

applied, because it discriminates against protected expression based on the expression's content

and viewpoint. The requirement prohibits government contractors from boycotting Israel, or

persons or entities doing business in Israel or in Israeli-controlled territories, while allowing

contractors to participate in other boycotts, including boycotts of other foreign countries and

"reverse boycotts" targeting companies and individuals engaged in boycotts of Israel.

       38. The certification requirement violates the First Amendment because it is

overinclusive and substantially overbroad.

       39. The certification requirement violates the First Amendment, both facially and as

applied, because it imposes an ideological litmus test and compels speech related to government

contractors' protected political beliefs, associations, and expression.




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          40. The certification requirement violates the First Amendment, both facially and as-

applied, because it bars government contractors from receiving government contracts based on

their protected political beliefs and associations.

                                        REQUEST FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in its favor

and against Defendants, and award the following relief:

          (1) Declare that the certification requirement contained in Act 710, Ark. Code Ann.§ 20-

5-503, violates the First and Fourteenth Amendments to the United States Constitution, both

facially and as-applied to Plaintiff;

          (2) Preliminarily and permanently enjoin Defendants from requiring those contracting

with the University of Arkansas and each of its constituent parts to certify that they are not

currently engaged, nor will they engage for the duration of the contract, in a boycott of Israel and

from penalizing government contractors based on their participation in political boycotts of

Israel.

          (3) Alternatively, preliminarily and permanently enjoin Defendants from requiring

Plaintiff as a contractor with the University of Arkansas to certify that it is not currently engaged,

nor will it engage for the duration of any contract, in a boycott of Israel.

          (4) Award Plaintiff its costs and reasonable attorney fees under 28 U.S.C. § 1988; and

          (5) Grant Plaintiff such other relief as this Court would deem just and proper.




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                      Respectfully submitted,



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